166 F.3d 1222
    1999 CJ C.A.R. 556
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    UNITED STATES of America, Plaintiff-Appellee,v.JOEY K., (a juvenile), Defendant-Appellant.
    No. 98-2194.
    United States Court of Appeals, Tenth Circuit.
    Jan. 27, 1999.
    
      (D.C. No. CR-98-255-BB) (District of New Mexico)
      Before BRORBY, EBEL and LUCERO, Circuit Judges.
    
    
      1
      ORDER AND JUDGMENT*
    
    
      2
      In light of this court's en banc holding in United States v. Singleton, 97-3178, 1999 WL 6469 (10th Cir.  Jan.8, 1999), we AFFIRM the judgment of the district court.
    
    
      3
      The mandate shall issue forthwith.
    
    
      
        *
         The case is unanimously ordered submitted without oral argument pursuant to Fed.  R.App. P. 34(a)(2) and 10th Cir.  R. 34.1(g).  This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments; nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.  R. 36.3
      
    
    